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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

                                        )
GRACE, et al.                           )
                                        )
              Plaintiffs,               )
                                        )
v.                                      )    Civil Action No. 1:18-cv-01853-EGS
                                        )
MATTHEW G. WHITAKER, in his             )
Official capacity as Acting Attorney    )
General of the United States, et al.,   )
                                        )
              Defendants.               )
                                        )

   JOINT STIPULATION REGARDING PARAGRAPH 5 OF THE PERMANENT
INJUNCTION, MOTION TO LIFT THE STAY ENTERED ON DECEMBER 26, 2018,
            AND MOTION TO SET ASIDE BRIEFING SCHEDULE
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    JOINT STIPULATION REGARDING PARAGRAPH 5 OF THE PERMANENT
 INJUNCTION, MOTION TO LIFT THE STAY ENTERED ON DECEMBER 26, 2018,
             AND MOTION TO SET ASIDE BRIEFING SCHEDULE

       On December 19, 2018, the Court entered a permanent injunction order. Paragraph 5 of

the permanent injunction requires Defendants to, inter alia, “bring back into the United States, at

no expense to plaintiffs, any plaintiff who has been removed pursuant to an expedited removal

order prior to this Order and parole them into the United States, and provide each of them a new

credible fear process . . . or, in the alternative, full immigration court removal proceedings

pursuant to 8 U.S.C. § 1229a.” Paragraph 5 also directs, inter alia, that “[t]o facilitate such

plaintiffs’ return to the United States, Defendants shall meet and confer with plaintiffs’ counsel

within 7 days to develop a schedule and plan to carry out this portion of the injunction.” On

December 21, 2018, Defendants requested information regarding the removed Plaintiffs that was

necessary to begin facilitating their return, including their locations, the types of identity

documents they could provide for travel, and points of contact for making the travel

arrangements.

       On December 26, the deadline for the parties to meet and confer, Defendants requested

that the Court enter a stay of the meet and confer deadline in paragraph 5 of the permanent

injunction in light of the current lapse in appropriations, citing 31 U.S.C. § 1342. ECF 108.

That same day, the Court issued a Minute Order granting the requested stay.

       On December 27, 2018, the Court issued a Minute Order directing the parties to brief

whether paragraph 5 of the Permanent Injunction Order relates to an “emergenc[y] involving the

safety of human life or the protection of property.” See 31 U.S.C. § 1342. That same day, after

the 7-day meet-and-confer period had lapsed and after the Court issued its orders, Plaintiffs

provided Defendants with the information requested on December 21.
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       In accordance with the Court’s permanent injunction order and in light of the Court’s

December 27, 2018 minute order, the parties conferred on December 27 and 28, 2018. As stated

in those conferrals, Defendants have agreed to treat work relating to complying with the

requirements in paragraph 5 of the permanent injunction order as excepted activity during the

current lapse in appropriations. Accordingly, Defendants shall proceed with compliance with

paragraph 5 of the permanent injunction notwithstanding the current lapse in appropriations.

       Given this agreement, the parties request that the Court lift the stay entered on December

26. In addition, the parties respectfully submit that it is not necessary to brief the question

whether the obligations set forth in paragraph 5 are “related to an ‘emergenc[y] involving the

safety of human life or the protection of property.’” December 27, 2018 Minute Order (quoting

31 U.S.C. § 1342). Accordingly, the parties respectfully request that the Court set aside the

briefing schedule issued on December 27.

                                                       Respectfully submitted,

Dated: December 28, 2018

By:    /s/ Jennifer Chang Newell               By:     /s/ Christina P. Greer
       JENNIFER CHANG NEWELL                           CHRISTINA P. GREER
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       Counsel for Plaintiffs                          Counsel for Defendants




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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 28, 2018, I electronically filed the foregoing document

with the Clerk of the Court for the United States Court of for the District of Columbia by using the

appellate CM/ECF system. Counsel in the case are registered CM/ECF users and service will be

accomplished by the appellate CM/ECF system.


                                       By:    /s/ Christina P. Greer
                                              CHRISTINA P. GREER
                                              Trial Attorney
                                              United States Department of Justice
                                              Civil Division
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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                              )
 GRACE, et al.                                )
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                Plaintiffs,                   )
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 v.                                           )        Civil Action No. 1:18-cv-01853-EGS
                                              )
 MATTHEW G. WHITAKER, in his                  )
 Official capacity as Acting Attorney         )
 General of the United States, et al.,        )
                                              )
                Defendants.                   )
                                              )

        [PROPOSED] ORDER GRANTING JOINT STIPULATION AND MOTIONS

         In light of the parties’ Joint Stipulation Regarding Paragraph 5 of the Permanent

Injunction, Motion to Lift the Stay Entered on December 26, 2018, and Motion to Set Aside

Briefing Schedule, it is hereby ORDERED that:

      1. The stay entered on December 26, 2018, relating to paragraph 5 of the preliminary-

         injunction order is lifted; and

      2. The briefing schedule issued on December 27, 2018, is set aside.

SO ORDERED.

Dated: December ___, 2018                                    __________________________
                                                             Emmet G. Sullivan
                                                             United States District Judge
